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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA

                              CASE NO. _____

MARIANNE MICHAELS, on behalf of
herself and all others similarly situated,

       Plaintiff,

v.                                                 CLASS ACTION

EMBRY-RIDDLE        AERONAUTICAL
UNIVERSITY, INC., a Florida not for
profit corporation,

      Defendant.
____________________________________/


                      CLASS ACTION COMPLAINT

      Plaintiff Marianne Michaels, individually and on behalf of the class

defined herein, files this Class Action Complaint against Defendant Embry-

Riddle Aeronautical University, Inc., and makes the following allegations:

                             INTRODUCTION

      1.    For more than thirty years, Embry-Riddle Aeronautical University

(“Embry-Riddle”) has kept a secret from its students and alumni. Despite being

one of the nation’s largest and most respected universities specializing in

aviation, aerospace engineering, and aeronautical engineering, with alumni

including high-ranking military officials, politicians, business leaders,
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intelligence agency officials, and astronauts, Embry-Riddle maintained and

perpetrated a decades-long deception. In no uncertain terms, Embry-Riddle

told a large number of students that, upon completion of required coursework,

they would (and did) receive accredited degrees in Aeronautical Engineering.

However, those students in fact graduated without accredited degrees as a

result of Embry Riddle’s own oversights, failures, and deliberate choices. Now,

having recently learned of this fraud, Plaintiff Marianne Michaels brings this

suit to redress this deception and seek recompense.

      2.    Embry-Riddle maintains residential campuses in Daytona Beach,

Florida and Prescott, Arizona. It also offers courses online and at a network of

more than 130 locations across the world. In the 2020-2021 academic year,

Embry-Riddle enrolled nearly 33,000 students, offering more than 100 degrees

at the associates, bachelor’s, master’s, and Ph.D level in areas ranging from

applied science, aviation, business, computers, technology, engineering,

security, intelligence, and space.

      3.    Embry-Riddle first began offering a Bachelor of Science degree in

Aeronautical Engineering in 1960. The Engineers’ Council for Professional

Development—now known as the Accreditation Board for Engineering and

Technology (“ABET”)—accredited the Aeronautical Engineering degree

program at the Daytona Beach campus in 1975. The Prescott campus obtained

ABET accreditation in Aeronautical Engineering in 1985.


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      4.    In 1989, Embry-Riddle changed the name of its Aeronautical

Engineering program to Aerospace Engineering. However, between 1989 and

1992, both Aeronautical Engineering and Aerospace Engineering degrees were

conferred concurrently. For students seeking Aeronautical Engineering

degrees at Embry-Riddle at the time of the name change, this had significant

life- and career-changing consequences, although they would not realize it for

many years. Those students were given the simple choice to either continue

toward an Aeronautical Engineering degree or obtain an Aerospace

Engineering degree. Both degrees were identical in coursework (with just one

elective separating the two); only the name was different.

      5.    Those students who opted to continue receiving an Aeronautical

Engineering degree believed—and were told—that they would receive an

ABET-accredited degree. However, upon changing the name of the

Aeronautical Engineering program to Aerospace Engineering, Embry-Riddle

failed to maintain its ABET accreditation of the Aeronautical Engineering

degree. But, because Embry-Riddle did not tell its Aeronautical Engineering

students that their degrees would be unaccredited, these students did not

know, and indeed had no way to know, that they would graduate with

unaccredited degrees.

      6.    For students seeking careers in engineering-related fields, receipt

of an ABET-accredited degree is essential for their career prospects. For the


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vast majority of positions, an accredited degree is necessary to obtain a job. An

ABET-accredited degree is also necessary to obtain the required government

licenses for those seeking to enter the engineering profession.

      7.    By failing to disclose to its Aeronautical Engineering students

already enrolled at the time of the name change that they would not receive an

accredited degree, Embry-Riddle knowingly and intentionally caused those

students to obtain a non-ABET-accredited degree.

      8.    Plaintiff Marianne Michaels was one such student. She brings this

suit on behalf of herself and a putative Class of all Aeronautical Engineering

students who graduated from Embry-Riddle—at both the Daytona Beach and

Prescott campuses—between 1989 and 1992. She seeks to recover damages in

the form of a refund of all monies—including, but not limited to, tuition and

fees—that those students paid to receive an ABET-accredited degree in

Aeronautical Engineering.

                                  PARTIES

      9.    Plaintiff Marianne Michaels is a citizen of the United States and

is domiciled in the Hong Kong Special Administrative Region of the People’s

Republic of China.

      10.   Defendant Embry-Riddle Aeronautical University, Inc. is a not-

for-profit corporation organized and existing under the laws of Florida, with

its principal place of business in Daytona Beach, Florida.


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                       JURISDICTION AND VENUE

      11.   This Court has original jurisdiction over this class action pursuant

to the Class Action Fairness Act and 28 U.S.C. § 1332(d) because (i) members

of the proposed Class are citizens of states different from Embry-Riddle’s home

state of Florida, and (ii) upon information and belief the total amount in

controversy in this action exceeds $5,000,000 exclusive of interest and costs.

This Court has supplemental jurisdiction over Plaintiff’s state law claims

under 28 U.S.C. § 1367.

      12.   This Court has personal jurisdiction over Embry-Riddle pursuant

to Florida Statutes § 48.193(1)(a)1. and (1)(a)2. because (i) Embry-Riddle

operates, conducts, engages in, and carries on business in Florida; and

(ii) Embry-Riddle has committed tortious acts within Florida. This Court also

has personal jurisdiction over Embry-Riddle pursuant to Florida Statutes

§ 48.193(2) because Embry-Riddle engaged in substantial and not isolated

activity within Florida.

      13.   Venue is proper in this Court under 28 U.S.C. § 1391 because

Embry-Riddle is domiciled and resides in this judicial district, and it is where

a substantial part of the events giving rise to this action occurred.

      14.   All conditions precedent to this action have occurred, been

performed, or have been waived.




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                       GENERAL ALLEGATIONS

     A.    Embry-Riddle Misrepresents To Students That They Would
           Receive An ABET-Accredited Degree In Aeronautical
           Engineering

     15.   In 1989, Embry-Riddle changed the name of its Aeronautical

Engineering program to Aerospace Engineering. Prior to that time, the

Aeronautical Engineering program maintained accreditation from ABET since

1975 at the Daytona Beach campus and 1985 at the Prescott campus. The

ABET-accredited programs at Daytona Beach and Prescott conferred the same

Bachelor of Science degree in Aeronautical Engineering.

     16.   Through its undergraduate catalogs, Embry-Riddle represented to

students enrolled at the time of the name change that, upon completion of the

required coursework, they would receive ABET-accredited degrees in

Aeronautical Engineering at graduation.

     17.   For example, the Embry-Riddle undergraduate catalogs from 1976

to the 1988-1989 academic year represented that the Aeronautical Engineering

degree program at the Daytona Beach campus was accredited by ABET’s

Engineering Accreditation Commission (or by ABET’s predecessor, the

Engineers’ Council for Professional Development). 1


1     Embry-Riddle’s course catalogs from the 1960 to 2004 are available at
Embry-Riddle’s University Archives website. See Embry-Riddle, ERAU Course
Catalogs,    https://commons.erau.edu/erau-course-catalog/index.html  (last
visited July 17, 2023).

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     18.    The Embry-Riddle undergraduate catalog for the 1988-1989

academic year represented that the Aeronautical Engineering program was

ABET-accredited at both the Daytona Beach and Prescott campuses. See

Embry-Riddle, 1988-89 Undergraduate Catalog, at p. 9 (attached hereto as

Exhibit A). This was the first (and only) time that the Embry-Riddle

undergraduate catalog indicated that both campuses were ABET-accredited in

Aeronautical Engineering.

     19.    These representations were false. When the name change

occurred, Embry-Riddle allowed students who were already enrolled in the

Aeronautical Engineering program to graduate with that degree. Thus, from

1989 to 1992, Embry-Riddle conferred Bachelor of Science degrees in both

Aeronautical Engineering and Aerospace Engineering at the same time,

yielding two groups. See, e.g., Embry-Riddle, Commencement Program, at p. 3,

(Apr. 25, 1992) (attached hereto as Exhibit B).

      20.   Beginning with the 1989-1990 academic year, the Embry-Riddle

course catalog represented that the Daytona Beach and Prescott campuses

were accredited in Aerospace Engineering, without any reference to

Aeronautical Engineering. See, e.g., Embry Riddle, 1989/90 Catalog, at p. 9

(attached hereto as Exhibit C). But Embry-Riddle did not tell its Aeronautical

Engineering students that their Aeronautical Engineering degree would not be

ABET accredited.


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      21.   Accordingly, from 1989 to 1992 Embry-Riddle conferred Bachelor

of Science degrees in Aeronautical Engineering that were not ABET accredited.

And Embry-Riddle did so after knowingly misrepresenting to those students

that their Aeronautical Engineering degrees would be ABET accredited.

      B.    Plaintiff Discovers That She Received An Unaccredited
            Aeronautical Engineering Degree

      22.   Plaintiff Marianne Michaels received an unaccredited Bachelor of

Science degree in Aeronautical Engineering from Embry-Riddle in 1992. She

entered Embry-Riddle with the understanding that her degree would be ABET

accredited, relying on the 1987-88 Undergraduate Catalog’s representation

that the Aeronautical Engineering program was ABET accredited. See Embry-

Riddle, 1987-88 Undergraduate Catalog, at p. 9 (attached hereto as

Exhibit D). And she graduated with that understanding as well.

      23.   For years following her graduation, Ms. Michaels was unable to

obtain an engineering job that required an ABET-accredited engineering

degree. Ms. Michaels applied for over 190 positions with various employers,

including the National Aeronautics and Space Administration (“NASA”), that

required an accredited aeronautical engineering degree. She was rejected

every time. For decades, prospective employers did not explain the reasons

behind their decisions.




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      24.     It was not until December 2020 that Ms. Michaels began to suspect

that her Aeronautical Engineering degree was not, in fact, ABET accredited.

In turning down Ms. Michaels for a position as an Element Operations

Management Engineer at its Kennedy Space Center, NASA informed

Ms. Michaels that the agency rejected her job application because it could not

verify whether her engineering degree was ABET accredited, as it was not

shown as accredited on the ABET website. The emails from NASA to

Ms. Michaels are attached hereto as Exhibits E and F.

      25.     After receiving this information from NASA, Ms. Michaels

requested that Embry-Riddle send her a verification letter to confirm that her

Aeronautical Engineering degree was ABET accredited. Embry-Riddle did so

on December 17, 2020, and represented that Ms. Michaels’ degree was ABET

accredited.

      26.     The verification letter, signed by the Registrar of Embry-Riddle’s

Daytona Beach campus, is attached hereto as Exhibit G. It read:




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             To Whom It May Concern:

             This is to certify that Marianne Michaels, student number
             0142994, has successfully completed all academic
             requirements for the Bachelor of Science in Aeronautical
             Engineering degree program at the Embry-Riddle
             Aeronautical University, Daytona Beach Campus.

             This degree was conferred on April 23, 1992.

             Embry-Riddle Aeronautical University has had
             continuous ABET Accreditation for the Aeronautical
             Engineering since October 1, 1975. This can be verified
             on the ABET website, www.abet.org.

(Emphasis added.)

      27.    On January 7, 2021, Richard Roach, Embry-Riddle’s Associate

Vice President for Assessment and Accreditation, acknowledged in an email to

a human resources official at NASA’s Johnson Space Center that there was

“confusion about the accreditation” of Ms. Michaels’ Aeronautical Engineering

degree. The email from Mr. Roach to the NASA official is attached hereto as

Exhibit H.

      28.    Ms. Michaels finally learned, from ABET, in May 2021 that her

Aeronautical Engineering degree was not ABET accredited.

      29.    In May 2021, after finding out that her degree was not ABET

accredited, Ms. Michaels again reached out to Embry-Riddle. In email

correspondence, Embry-Riddle’s chair of its Aerospace Engineering program,

Anastasios “Tasos” Lyrintzis, admitted to Ms. Michaels that she received

“inaccurate information” upon her graduation. He offered to change the name


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of Ms. Michaels’ degree from “Aeronautical Engineering” to “Aerospace

Engineering.” He also confirmed that NASA’s human resources officials “look

for ABET-accreditation to check a box” when fielding job applications. The

email exchange between Ms. Michaels and Mr. Lyrintzis is attached hereto as

Exhibit I.

      30.    But retroactively changing the name—or accreditation status—of

the Aeronautical Engineering degree will not undo the harm that Ms. Michaels

and the Class members have suffered for the last thirty years. Three decades

of missed job opportunities cannot be undone. And for a student to now say

that they, in fact, received an Aerospace Engineering degree after representing

for thirty years that they received an Aeronautical Engineering degree simply

underscores that Ms. Michaels and the Class members did not receive what

they paid for—an ABET-accredited degree in Aeronautical Engineering.

    TOLLING OR NON-ACCRUAL OF STATUTE OF LIMITATIONS

Discovery Rule Tolling

      31.    Within the time period of any applicable statutes of limitations,

Plaintiff and Class members could not have discovered, through the exercise

of reasonable due diligence, that their Aeronautical Engineering degrees were

not ABET accredited.

      32.    All applicable statutes of limitations have therefore been tolled by

operation of the delayed discovery rule.


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Fraudulent Concealment Tolling

      33.   All applicable statutes of limitations have also been tolled by

Embry-Riddle’s knowing and active fraudulent concealment and denial of the

fact that Plaintiff and Class members did not obtain ABET-accredited degrees

in Aeronautical Engineering.

      34.   Because Embry-Riddle actively concealed the fact that Plaintiff

and Class members did not obtain ABET-accredited degrees in Aeronautical

Engineering, Embry-Riddle is estopped from relying on any statute of

limitations defense.

Estoppel

      35.   Embry-Riddle knowingly and actively concealed from Plaintiff and

Class members that they did not obtain ABET-accredited degrees in

Aeronautical Engineering. Embry-Riddle did so notwithstanding the fact that

it knew Plaintiff and Class members did not receive ABET-accredited degrees.

And Embry-Riddle intended and expected that Plaintiff and Class members

would rely on its knowing and active concealment of those facts.

      36.   Plaintiff and Class members reasonably relied upon Embry-

Riddle’s knowing and affirmative misrepresentations and active concealment

of material facts. Therefore, Embry-Riddle is estopped from relying on any

defense based on statutes of limitations in this action.




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                       CLASS ACTION ALLEGATIONS

Class Definition

      37.     Plaintiff brings this class action and seeks to certify and maintain

it as a class action under Fed. R. Civ. P. 23(a) and (b)(3) on behalf of the Class.

This action satisfies the numerosity, commonality, typicality, adequacy of

representation, predominance, and superiority requirements of those

provisions.

      38.     Plaintiff defines and will seek certification of the following Class:

              All students enrolled at Embry-Riddle Aeronautical
              University who received ABET-unaccredited Bachelor of
              Science degrees in Aeronautical Engineering between 1989
              and 1992.

      39.     Excluded from the Class are Embry-Riddle and its employees,

officers, directors, legal representatives, heirs, successors, and wholly or partly

owned subsidiaries or affiliated companies; Plaintiff’s counsel and their

employees; and the judicial officers and their immediate family members and

associated court staff assigned to this case.

      40.     Plaintiff reserves the right to modify, expand, or amend the

definition of the proposed Class following class certification discovery and

before the Court determines whether class certification is appropriate.

      41.     Certification of Plaintiff’s claims for class-wide treatment is

appropriate because Plaintiff can prove the elements of her claims on a class-



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wide basis using the same evidence as would be used to prove those elements

in individual actions alleging the same claims.

Requirements of Rule 23(a)

      Numerosity

      42.   This action satisfies the numerosity requirement of Fed. R. Civ. P.

23(a)(1). There are at least 100 members of the Class. Accordingly, the size of

the Class makes joinder of its individual members impracticable.

      43.   The identity of Class Members is ascertainable, as the names and

addresses of all Class Members can be identified in Embry-Riddle’s or its

agent’s books and records. Plaintiff anticipates providing appropriate notice to

each member of the certified Class in compliance with Fed. R. Civ. P.

23(c)(2)(B), to be approved by the Court after class certification or pursuant to

court order under Fed. R. Civ. P. 23(d).

      Commonality

      44.   This    action   satisfies     the   commonality    requirement    of

Fed. R. Civ. P. 23(a)(2). Plaintiff’s claim raises questions of law and fact

common to the Class. The common questions of law and fact include, but are

not limited to, the following:

            a.     Whether       Embry-Riddle    fraudulently   and   negligently

                   misrepresented to Plaintiff and Class Members that they

                   would receive ABET-accredited Bachelor of Science degrees


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                   in Aeronautical Engineering.

            b.     Whether Embry-Riddle knew that its students would receive

                   unaccredited Aeronautical Engineering degrees when it

                   represented the opposite to Plaintiff and Class Members.

            c.     Whether Embry-Riddle intended that Plaintiff and Class

                   Members would rely on its false guarantees that they would

                   receive   ABET-accredited       degrees    in    Aeronautical

                   Engineering.

            d.     Whether Plaintiff and Class Members reasonably and

                   justifiably relied on Embry-Riddle’s misrepresentation that

                   they   would   receive   an    ABET-accredited     degree   in

                   Aeronautical Engineering.

            e.     Whether Plaintiff and Class Members suffered damages as

                   a result of Embry-Riddle’s misrepresentation that they

                   would receive an ABET-accredited degree in Aeronautical

                   Engineering.

      Typicality

      45.   This action satisfies the typicality requirement of Fed. R. Civ. P.

23(a)(3). The claims asserted by Plaintiff are typical of the claims of the Class.

Plaintiff has suffered harm that stems from the same course of conduct. That

conduct gives rise to the Class’s claims, which are based on the same legal


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theories and interests and depend on resolution of the same defenses to

liability.

       Adequacy of Representation

       46.   This action satisfies the adequacy of representation requirement

of Fed. R. Civ. P. 23(a)(4). Plaintiff will fairly and adequately represent the

interests of the Class, and she does not have any conflict with the interests of

the other members of the Class that would preclude her from serving as class

representative. Plaintiff has the same interest as members of the Class and

will fairly and adequately look out for and protect the interests of absent Class

Members. Plaintiff anticipates no difficulty in the management of this

litigation as a class action.

       47.   To prosecute this case, Plaintiff has chosen the undersigned law

firms, which have substantial experience in the prosecution of large and

complex class action litigation and have the financial resources to meet the

costs associated with the vigorous prosecution of this type of litigation. Plaintiff

and her counsel will fairly and adequately protect the interest of all Class

Members.

Requirements of Rule 23(b)(3)

       Predominance

       48.   This action is appropriate for class treatment pursuant to

Fed. R. Civ. P. 23(b)(3). As set forth in paragraph 44, supra, there are


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questions of law and fact common to Plaintiff’s claims and the claims of each

member of the Class. Those common questions of law and fact predominate

over any questions of law or fact affecting only individual members of the

Class.

      49.   The Class will present common proof as to Embry-Riddle’s

liability, including, but not limited to, Embry-Riddle’s misrepresentations to

Plaintiff and Class Members that they would receive ABET-accredited degrees

in Aeronautical Engineering.

      Superiority

      50.   A class action is superior to other available methods for the fair

and efficient adjudication of this controversy. Class certification in this matter

would aid in case management and the efficient use of limited resources. A

class action would achieve substantial economies of time, effort, and expense,

and would assure uniformity of decisions as to persons similarly situated

without sacrificing procedural fairness

      51.   Plaintiff is unaware of any obstacles likely to be encountered in the

management of this action that would preclude its maintenance as a class

action. Rule 23 provides the Court with the authority and flexibility to

maximize the efficiencies and benefits of the class mechanism and reduce

management challenges. The Court may, on motion of Plaintiff or on its own

determination, certify nationwide and statewide classes for claims sharing


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common legal questions; use the provisions of Fed. R. Civ. P. 23(c)(4) to certify

particular claims, issues, or common questions of law or of fact for class-wide

adjudication; certify and adjudicate bellwether class claims; and use

Fed. R. Civ. P. 23(c)(5) to divide any Class into subclasses.

                                    COUNT I

                  FRAUDULENT MISREPRESENTATION

      52.     Plaintiff incorporates by reference paragraphs 1 to 51 as if fully set

forth herein.

      53.     In 1989, when Embry-Riddle changed the name of its Aeronautical

Engineering program to Aerospace Engineering, Embry-Riddle told its

students that they would receive ABET-accredited Bachelor of Science degrees

in Aeronautical Engineering.

      54.     Embry-Riddle knew that these statements were false at the time

they were made.

      55.     Embry-Riddle intended that Plaintiff and Class Members would

rely on these statements with the understanding that they could continue their

studies and receive ABET-accredited degrees in Aeronautical Engineering.

      56.     Plaintiff and Class Members seeking Aeronautical Engineering

degrees at the time of the program’s name change reasonably and justifiably

relied on Embry-Riddle’s guarantees that their degrees would be ABET

accredited.


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      57.     As a result, Plaintiff and Class Members suffered damages by

being required to pay tuition, fees, and other expenses for Aeronautical

Engineering degrees that were not ABET accredited.

                                    COUNT II

                    NEGLIGENT MISREPRESENTATION

      58.     Plaintiff incorporates by reference paragraphs 1 to 51 as if fully set

forth herein.

      59.     In 1989, when Embry-Riddle changed the name of its Aeronautical

Engineering program to Aerospace Engineering, Embry-Riddle told its

students that they would receive ABET-accredited Bachelor of Science degrees

in Aeronautical Engineering.

      60.     Embry-Riddle knew or should have known that these statements

were false at the time they were made.

      61.     Embry-Riddle intended that Plaintiff and Class Members would

rely on these statements with the understanding that they could continue their

studies and receive ABET-accredited degrees in Aeronautical Engineering.

      62.     Plaintiff and Class Members seeking Aeronautical Engineering

degrees at the time of the program’s name change reasonably and justifiably

relied on Embry-Riddle’s guarantees that their degrees would be ABET

accredited.




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      63.      As a result, Plaintiff and Class Members suffered damages by

being required to pay tuition, fees, and other expenses for Aeronautical

Engineering degrees that were not ABET accredited.

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff Marianne Michaels, individually and on behalf

of   the     Class,   demands     judgment     against   Defendant   Embry-Riddle

Aeronautical University, Inc. for remedies including, but not limited to, the

following:

      a.       Declare this action to be a proper class action pursuant to

               Fed. R. Civ. P. 23(b)(3) on behalf of the Class;

      b.       Designate and appoint Plaintiff as Class Representative and

               Plaintiff’s chosen counsel as Class Counsel;

      c.       Award Plaintiff and Class Members damages in an amount to be

               proven at trial;

      d.       Award Plaintiff and Class Members their reasonable attorneys’

               fees and costs, as allowed by law;

      e.       Award Plaintiff and Class Members pre-judgment and post-

               judgment interest, as provided by law; and

      f.       Award Plaintiff and Class Members any further and different

               relief as this case may require or as determined by this Court to be

               just, equitable, and proper under the circumstances.


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                      DEMAND FOR JURY TRIAL

      Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a jury trial on all

issues so triable.

 Dated: August 10, 2023              Respectfully submitted,

  /s/Anthony Sos ______________      /s/ Gail McQuilkin_________________
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